     Case
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                                Because the Court finds that sealing would protect
July 1, 2020                    confidential information, Counsel’s request to
                                file the unredacted reply papers and the exhibits
Honorable Loretta A. Preska     thereto under seal is granted. SO ORDERED.
United States District Court
Southern District of New York                                                               7/2/2020
500 Pearl Street
New York, NY 10007

Re: Motion to File Under Seal
    Giuffre v. Ghislaine Maxwell, No. 15 Civ. 7433 (LAP)

Dear Judge Preska:

This is a letter motion seeking leave to permit Ms. Maxwell to file a redacted Reply In
Support of Her Objections to Unsealing Sealed Materials and to file under seal Exhibits A-D
thereto.

The Protective Order governing this case states:

       Whenever a party seeks to file any document or material containing CONFIDENTIAL
       INFORMATION with the Court in this matter, it shall be accompanied by a Motion to
       Seal pursuant to Section 6.2 of the Electronic Case Filing Rules & Instructions for the
       Southern District of New York.

Doc. # 62 at 4. The Reply and Exhibits A-D contain information deemed CONFIDENTIAL
by the parties pursuant to the Protective Order. References to and discussion of specific
CONFIDENTIAL materials are necessary to support Ms. Maxwell’s request that these
materials remain under seal.

Ms. Maxwell intends to file the redacted version of the Reply publicly on ECF and seeks
leave only to file the unredacted version and Exhibits A-D under seal.


                                             Respectfully submitted,



                                             Laura A. Menninger

CC: Counsel of Record via ECF
